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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 CURTIS STAPLES, JR.,                          :       CASE NO. 1:14-cv-00549
                                               :
                Plaintiff,                     :       JUDGE BECKWITH
                                               :
 v.                                            :       STIPULATION OF DISMISSAL
                                               :
 AMERICAN MEDICAL COLLECTION                   :
 AGENCY, et al.,                               :
                                               :
                Defendants.                    :


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Curtis Staples, Jr.

and Defendant American Medical Collection Agency hereby stipulate to the dismissal of this

matter, with prejudice. Each party to bear its own costs.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a copy of the foregoing, along with this

Certificate of Service, was filed this 3rd day of October, 2014, via the Clerk’s CM/ECF system

which will provide notice to all counsel of record.



                                             /s/David B. Shaver
                                             David B. Shaver (0085101)




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